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                   Exhibit C
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA

KENNETH EUGENE SMITH                )
                                    )
              Plaintiff,            )
                                    )                Case No. 2:22-cv-00497-RAH
v.                                  )
                                    )                CAPITAL CASE
JOHN Q. HAMM, Commissioner, Alabama )
Department of Corrections,          )                EXECUTION SCHEDULED FOR
                                    )                NOVEMBER 17, 2022
              Defendant.            )


                       DECLARATION OF DAVID C. PIGOTT, MD

       I, David C. Pigott, hereby state under penalty of perjury as follows:

       1.      I am a professor and Vice Chair for Faculty Development in the Department of

Emergency Medicine at the University of Alabama School of Medicine in Birmingham,

Alabama. I am also the Co-Director of the Office of Emergency Ultrasound and serve as a core

faculty member for the Emergency Ultrasound Fellowship and a faculty member for the

emergency medicine residency program. I hold certifications from the American Board of

Emergency Medicine and the American Registry for Diagnostic Medical Sonography. My

current CV is attached as Exhibit A.

       2.      I have practiced emergency medicine for more than 20 years and hold an active

medical license from the state of Alabama. I received my medical degree from Columbia

University College of Physicians/Surgeons, completed my internship at the Medical College of

Pennsylvania, and completed my residency at St. Luke’s-Roosevelt Hospital Center in New

York. As an emergency medicine physician, I am familiar with the methods used to gain

intravenous access in medical settings.
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       3.      I was provided with photographs, copies of which are attached as Exhibit B,

which counsel has represented to me are photographs from an autopsy performed on Joe Nathan

James, who was executed by the state of Alabama on July 28, 2022. Based on my review of

those photographs and my experience and training as an emergency medicine physician, I was

asked to offer an opinion regarding the procedures that could have been performed on Mr. James

to obtain intravenous access during his execution.

       4.      My opinion, to a reasonable degree of medical certainty, is that the photographs

provided to me show multiple attempts to establish intravenous (IV) access using a needle, as

well as an attempted cut-down procedure.1 An autopsy photo showing the incision is below:




       5.      The deeper laceration in the antecubital fossae (pit of the elbow), depicted in the

photograph above, is indicative of an attempted cut-down procedure. The laceration does not




1
 A cut-down is a procedure in which an incision is made with a scalpel directly into the skin in
an area where a vein would be found.

                                                 2
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appear to have been made with a needle, but rather with some type of knife or scalpel. The

laceration is located in an area where a vein would be likely be found, and there appears to be a

needle stick just below the laceration. The photograph shows what appear to be tissue response

and blood in and around the laceration, suggesting that the laceration was made while the

individual was still alive, as post-mortem wounds typically do not bleed. Both the laceration in

the pit of the elbow and the more shallow laceration above it appear to have what physicians

refer to as “hesitation marks” on the edges, which suggests that the individual making the cuts

was not experienced in doing so, although inadvertent movement of the arm during the

procedure may have a similar appearance.

       6.       The bruising depicted in the photograph above, as well as the other photographs,

is also indicative of multiple attempts to establish IV access using a needle.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on October 12, 2022




       David C. Pigott, MD, RDMS, FACEP




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  Pigott Declaration:
      Exhibit A
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                                  Curriculum Vitae
                        David C. Pigott, M.D., RDMS, FACEP


Personal Information

Name:                David C. Pigott, M.D.
Citizenship:         United States
Social Security No.:
Home Address:

Cell Phone:
Date of Birth:
Gender:               Male
Rank:                 Professor
Rank Begin Date:      10/01/2013
School:               School of Medicine
Institution:          The University of Alabama at Birmingham
Business Address:     619 South 19th Street; OHB 251
                      Birmingham Alabama 35249-7013
Business Phone:       (205) 975-2444

Education

      Yale University, New Haven, CT, B.A., May 1990, cum laude
      Columbia University College of Physicians and Surgeons, New York, NY, M.D., May
       1995

Licensures

      Alabama, #22680, May 1999 to present

Board Certification

      American Board of Emergency Medicine (ABEM), #2, June 2001, recert. 2011, 2021

Additional Certifications

      American Registry for Diagnostic Medical Sonography (ARDMS), #150288, August 2011

Postdoctoral Training

      July 1996 - June 1999, Emergency Medicine Residency, St. Luke's/Roosevelt Hospital
               Center, New York, NY
      July 1995 - June 1996, Preliminary Year - Internal Medicine, Medical College of
               Pennsylvania, Philadelphia, PA

Awards and Honors

      2015 – ACEP Spokesperson of the Year Award, awarded by ACEP Board of Directors,
       ACEP Leadership and Advocacy Conference, Washington, DC.
      2014 – Trending Topics Lecture Award (most popular lecture), “Inside the Hot Zone:
       Highly Infectious Pathogens in the ED,” ACEP Scientific Assembly, Chicago, IL
      2014 – Best Lecturer Award, UAB Emergency Medicine Residency Program
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      2013 – Blazer MD Award (Physician of the Year), UAB Emergency Medicine Residency
       Program
      2013 – Best Lecturer Award, UAB Emergency Medicine Residency Program
      2009 – Best Clinical Instructor, UAB Emergency Medicine Residency Program
      2006 – Best Lecturer Award, UAB Emergency Medicine Residency Program
      2005 – Best Lecturer Award, UAB Emergency Medicine Residency Program
      2004 – Best Clinical Instructor, UAB Emergency Medicine Residency Program
      2003 – Best Clinical Instructor, UAB Emergency Medicine Residency Program


Invited Lectures and Courses

      2022 – Invited Faculty, “New Sepsis Guidelines: Latest But Not Greatest,” “Sexually
       Transmitted Infections,” “Staying Cool with Pediatric Fever,” ACEP Scientific Assembly,
       San Francisco, CA, October 1-4, 2022
      2018 – Invited Faculty, “Infections From Abroad: Unwanted Souvenirs,” “Z Is for
       Zoonosis: How Animal Pathogens Are Causing Human Disease,” ACEP Scientific
       Assembly, San Diego, CA, October 1-4, 2018
      2018 – Invited Expert, ACEP Frontline Podcast, “Flu Season,” Jan 10, 2018.
      2017 – Invited Faculty, “DOA PDQ: Rapidly Fatal Infections,” “Pelvic Ultrasound for
       Pelvic Pain: Make the Diagnosis!” “FAST FACTS: High Yield Infectious Disease,” ACEP
       Scientific Assembly, Washington, DC, October 29-Nov 1, 2017
      2016 – Invited Faculty, “ID Reloaded: How Old Diseases Are Staging New Comebacks,”
       “DOA PDQ: Rapidly Fatal Infections,” “Pelvic Ultrasound for Pelvic Pain: Make the
       Diagnosis!” “Food Borne Pathogens: Lessons From the Buffet,” ACEP Scientific
       Assembly, Las Vegas, NV, October 16-19, 2016
      2016 – Invited Faculty, “Emergent management of respiratory infections” – International
       Conference on Emergency Medicine (ICEM 2016), Cape Town, South Africa, April 21-24,
       2016
      2015 – Invited Faculty, “Guess Who’s Coming to Dinner? Foodborne Illness – 2015
       Update,” “Go With the Flow! Adding Doppler to Your Ultrasound Skill Set,” “Inside the Hot
       Zone: Highly Infectious Pathogens in the ED,” and “Pelvic Ultrasound for Pelvic Pain:
       Make the Diagnosis!” ACEP Scientific Assembly, Boston, MA, October 26-29, 2015
      2014 – Invited Faculty, “Ebola: Hemorrhagic Fever and the US Experience,” and “Inside
       the Hot Zone: Highly Infectious Pathogens in the ED,” ACEP Scientific Assembly,
       Chicago, IL
      2014 – Invited Lecturer, Ultrasound for Emergency Medicine Course, Las Vegas, NV.
      2013 – Course Co-Director, UAB Emergency and Critical Care Ultrasound Course,
       Hoover, AL, September 7-8, 2013.
      2013 – Course Director, FAST Exam Ultrasound Course for Trauma faculty and
       residents, Birmingham, AL
      2012 – Co-Director, Military Emergency Ultrasound Course, Special Operations Surgical
       Team-Air Force Special Operations Command, Birmingham, AL, March 12, 2012
      2011 – Course Director, Emergency Ultrasound Course, Southeastern Chapters (SEC)
       ACEP Educational Conference, Destin, FL
      2010 – Chair, Southeastern Regional Society for Academic Emergency Medicine (SAEM)
       Conference – Birmingham, AL, April 9-10, 2010
      2009 – UAB Emergency Medicine Residency Program – Best Clinical Instructor
      2008 – Invited Lecturer and Instructor, Emergency Ultrasound Course, Florida College of
       Emergency Physicians (FCEP), Tampa, FL
      2007 – Invited Lecturer and Instructor, Emergency Ultrasound, Alabama ACEP
       Conference, Destin, FL
      2007 – Invited Faculty, “Foodborne illness,” and “Travel-related Infectious Diseases,”
       ACEP Scientific Assembly, Seattle, WA
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      2006 – Invited Faculty, “Selected Cases in Oncologic Emergencies,” ACEP Scientific
       Assembly, New Orleans, LA
      2005 – Invited Lecturer, “Foodborne illness,” New Speakers Forum, ACEP Scientific
       Assembly, Washington, DC
      2003 – Invited course developer/instructor for the National Health Professions
       Preparedness Consortium bioterrorism training course

Academic Appointments
(In Reverse Chronological Order)

      October 1, 2013 – present, Professor of Emergency Medicine, Department of Emergency
       Medicine, University of Alabama School of Medicine
      July 1, 2007 – present, Vice Chair for Academic Development, Department of Emergency
       Medicine, University of Alabama at Birmingham
      May 1, 2006 – June 30, 2007 Program Director, Emergency Medicine Residency,
       Department of Emergency Medicine, University of Alabama at Birmingham
      May 1, 2006 – June 30, 2007, Vice Chair for Educational Services, Department of
       Emergency Medicine, University of Alabama at Birmingham
      October 1, 2004 – September 30, 2013, Associate Professor of Emergency Medicine,
       Department of Emergency Medicine, University of Alabama School of Medicine
      January 2004 – May 2006, Associate Director, Emergency Medicine Residency Program,
       Department of Emergency Medicine, University of Alabama at Birmingham
      2002 - 2004, Assistant Director, Emergency Medicine Residency Program, Department of
       Emergency Medicine, University of Alabama at Birmingham
      August 1, 1999 – September 30, 2004, Assistant Professor of Emergency Medicine,
       Department of Emergency Medicine, University of Alabama School of Medicine
      August 1999 - July 2003, Director, Medical Student Rotation, Department of Emergency
       Medicine, University of Alabama at Birmingham

Other (Non-academic) Appointments

      2015 – present, Member, ACEP Spokesperson Network
      2014 – present, Member, ACEP Epidemic Expert Panel (appointed by ACEP President,
       Dr. Alexander M. Rosenau), formerly known as ACEP Ebola Expert Panel
      2012 – present, Core Faculty, Emergency Ultrasound Fellowship Program, Department
       of Emergency Medicine, University of Alabama at Birmingham
      2011-present, Co-Director, Division of Emergency Ultrasound, Department of Emergency
       Medicine, University of Alabama at Birmingham
      1999 - 2011, Director, Division of Emergency Ultrasound, Department of Emergency
       Medicine, University of Alabama at Birmingham
      2005 – present, Consultant, Regional Poison Control Center – Children’s Hospital of
       Alabama
      2001 – 2014, Website creator and manager, Emergency Medicine Residency Program,
       University of Alabama at Birmingham. Designed, created and implemented Emergency
       Medicine Residency Program website. <www.uab.edu/emresidency>
      2001 – 2011, Associate Scientist, UAB Center for Emerging Infections and Emergency
       Preparedness (CEIEP)

Scientific and Professional Societies

      2012 – Present, ACEP Ultrasound Section Subcommittee on Resident Education (Co-
       Chair, 2016 – 2018)
      2011 – Present, Member, American Institute of Ultrasound in Medicine
      2004 – Present, Member, ACEP Ultrasound Section
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      1994 – 1999, EMRA (Emergency Medicine Residents Association
      1994 – Present, Member, American College of Emergency Physicians, Fellow, 2002 –
       Present.
      1994 – Present, Member, The Society for Academic Emergency Medicine

Memberships

      1999–2008, Faculty Advisor, Emergency Medicine Interest Group, University of Alabama
       School of Medicine

Councils and Committees

      2011 – 2013, Information Technology Advisory Group, University of Alabama Hospital
      2008 – 2010, Pharmacy and Therapeutics Committee, University of Alabama Hospital
      2005 – present, Appointments, Promotions and Tenure Committee, Department of
       Emergency Medicine, University of Alabama Hospital, Chair (2015–)
      2004 – present, Quality Improvement Committee, Department of Emergency Medicine,
       University of Alabama Hospital, Committee Chair, 2005-2007
      2003 – 2016, Leadership Committee, Department of Emergency Medicine, University of
       Alabama Hospital
      1999 – present, Medical Education Committee, Department of Emergency Medicine,
       University of Alabama Hospital
      1999 – 2007, Health Information Management Committee, University of Alabama
       Hospital
      1999 – 2007, Resuscitation Subcommittee of the Critical Care Committee, University of
       Alabama Hospital
      1991 – 1992, Dean's Advisory Committee, Columbia College of Physicians and Surgeons

Professional Expertise and Interests

      2015 – present, Member, ACEP Spokespersons’ Network
      2014 – present, Member, ACEP Epidemic Expert Panel (appointed by ACEP President,
       Dr. Alexander M. Rosenau), formerly ACEP Ebola Expert Panel
      2015 – Team Physician, UAB Men’s Basketball (2015 Conference-USA Tournament,
       Birmingham, Alabama)
      2004 – Medical Director, Main Medical Treatment Area, Mercedes Marathon and Half-
       marathon, Birmingham, Alabama (approx. 3500 participants).
      2004 – Medical Director, Main Medical Treatment Area, U.S. Men's Olympic Trials
       Marathon, Birmingham, Alabama.
      Emergency ultrasound, toxicology, emerging infections including Ebola virus and Zika
       virus, foodborne illness, trauma, emergency medicine procedure training, emergency
       medicine education.

Bibliography

Peer-reviewed articles

      Bacro-Duverger BH, Thorburn AQ, Denney BD, Gullett JP, Thompson MA, Pigott DC.
       Takotsubo Cardiomyopathy Following Traumatic Hand Amputation: A Case Report. Clin
       Pract Cases Emerg Med. 2022 Aug;6(3):225-228.

      Burleson SL, Swanson JF, Shufflebarger EF, Wallace DW, Heimann MA, Crosby JC,
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   Yates MC, Chiasson KF, Pacheco ZS, Gullett JP, Denney BD, Pigott DC. Point-of-care
    ultrasound diagnosis of flexor tenosynovitis caused by an unusual pathogen, Oxf Med
    Case Reports. 2020 Dec 28;2020(12):omaa115.

   Schrading WA, Pigott D, Thompson L. Virtual Remote Attending Supervision in an
    Academic Emergency Department During the COVID-19 Pandemic. AEM Educ Train.
    2020;4(3):266-269.

   Burleson SL, Pigott DC, Gullett JP, Greene C, Gibson CB, Irvine S, Kaminstein D. Point-
    of-care ultrasound in resource-limited settings: the PURLS fellowship. Ultrasound J. 2020
    Mar 20;12(1):14.

   Greene CJ, Burleson SL, Crosby JC, Heimann MA, Pigott DC. Coronavirus disease
    2019: International public health considerations. JACEP Open. 2020;1:70-77.

   DeMasi SC, Goyack LE, Shufflebarger EF, Hess EP, Skains RM, Thompson MA,
    Burleson SL, Gullett JP, Pigott DC. Clinical Ultrasonography in Patients who Inject Drugs
    (the CUPID protocol): An Illustrated Case Series. JACEP Open. 2020;1:244-251.

   Shufflebarger EF, DeLaney MC, Pigott DC. Young man with suspected foreign body
    ingestion. Clin Pract Cases Emerg Med. 2019 Sep 30;3(4):449-450.

   Neth MR, Thompson MA, Gibson CB, Gullett JP, Pigott DC. Ruptured Ectopic Pregnancy
    in the Presence of an Intrauterine Device. Clin Pract Cases Emerg Med. 2019 Jan
    22;3(1):51-54.

   Younan D, Pigott DC, Gibson CB, Gullett JP, Zaky A. Exaggerated Interventricular
    Dependence among Trauma and Burn Patients: A Relationship with Kidney Function - An
    Exploratory Study. Am Surg. 2019 Apr 1;85(4):365-369.

   Burleson SB, Cirillo FN, Gibson CB, Gullett JP. Pigott DC. Superficial temporal arterial
    pseudoaneurysm diagnosed by point-of-care ultrasound. Clin Pract Cases Emerg Med.
    2019 Jan 7;3(1):77-78.

   Burleson SB, Thompson MA, Pigott DC, Gullett JP, Resuehr D, Donnelly J, Gibson CB. A
    1-week intensive ultrasound course for second-year medical students. Med Sci Educ
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   Hassani B, Evans JG, Gibson CB, Gullett JP, Pigott DC. Images in Emergency Medicine:
    Young woman with postpartum chest and abdominal pain. Ann Emerg Med 2018
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   Younan D, Zaky A, Gibson CB, Pigott DC, Gullett JP. Right Ventricle Fractional Area of
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   Garrigan AL, Pigott DC. Images in Emergency Medicine: Elderly female with elbow pain.
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   Cirillo FN, Gibson CB, Gullett JP, Pigott DC. Young Male with Shoulder Mass.
    Ann Emerg Med 2017 Jun;69(6):e61-e62.

   Thompson MA, Gibson CB, Gullett JP, Pigott DC. Acute ST Segment Elevation
    Myocardial Infarction and Massive Pericardial Effusion due to Infectious Endocarditis: a
    case report. Clin Pract Cases Emerg Med. 2017, 1(2).

   Nelson M, Abdi A, Adhikari S, Boniface M, Bramante RM, Egan DJ, Fields JM, Leo
    MM, Liteplo AS, Liu R, Nomura JT, Pigott DC, Raio CC, Ruskis J, Strony R, Thom C,
    Lewiss RE. Goal Directed Focused Ultrasound Milestones Revised: A Multi-
    organizational Consensus. Acad Emerg Med 2016 Nov;23(11):1274-1279.

   Pigott DC, Gibson CB, McIntosh CA, Gullett JP. Images in Emergency Medicine: Male
    with pain in right calf. Ann Emerg Med 2016 Jul;68(1):19-25.

   Augustin-Coley BM, Pigott DC, Gibson CB, Vander Noot RM, Gullet JP. Diagnosis of
    radiographically occult calcaneus fracture with bedside sonography. J Ultrasound Med
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   Restrepo CG, Baker MD, Pruitt CM, Gullett JP, Pigott DC. Ability of pediatric emergency
    medicine physicians to identify anatomic landmarks with the assistance of ultrasound
    prior to lumbar puncture in a simulated obese model. Pediatr Emerg Care 2015
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   Sullivan JC 3rd, Buckner B, Pigott DC: Traumatic fifth finger amputation due to pontoon
    boat railing design. J Emerg Med 2012 Dec;43(6):e443-5.

   Pigott DC: Ultrasounds in EM: Pregnant with syncope: the role of transvaginal ultrasound.
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   Pigott DC: Ultrasounds in EM: You sank my battleship! EM Resident, 2012
    Feb/Mar;39(1):32-34.

   Pigott DC: Emergency ultrasounds: a sore throat and allergic reaction? EM Resident,
    2011 Feb/Mar;38(1):28-29.

   King K, Pigott DC, Edwards AR: Intraocular mass causing acute angle-closure glaucoma,
    Am J Emerg Med 2010 Jun;28(5):644.e5-6.

   Pigott DC: Foodborne illness. Emerg Med Clin North Am. 2008 May;26(2):475-97.

   Pigott DC: Bedside Ultrasonography, Central Line Placement. eMedicine Journal, 2008.
    http://emedicine.medscape.com/article/110152. Revised 2014.

   Pigott DC: Images in emergency medicine. Molar pregnancy. Ann Emerg Med. 2007
    Jan;49(1):14, 22.

   Mishra N, Orthner HF, Pigott DC: “Chest Pain and Validity of an Emergency Medical
    Dispatch Algorithm,” American Medical Informatics Association 2006 Annual Symposium,
    1035.
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      Pigott DC: Hemorrhagic Fever Viruses. Critical Care Clinics, October 2005;21(4):765-83.

      Pigott DC, Buckingham RB, Eller RE, Cox AJ 3rd: Foreign body in the tongue: a novel
       use for emergency department ultrasonography. Ann Emerg Med 45(6):677-9, June
       2005.

      Bachmann LH, Pigott D, Desmond R, Jones M, Lumpkins J, Gala P, Terndrup T, Hook
       EW 3rd: Prevalence and factors associated with gonorrhea and chlamydial infection in at-
       risk females presenting to an urban emergency department. Sexually Transmitted
       Diseases 30(4):335-9, April 2003.

      Pigott DC, Rosko CR: The dizzy patient: an evidence-based diagnosis and treatment
       strategy. Emergency Medicine Practice 3(3):1-20, March 2001.

      Pigott DC: CBRNE–Viral Hemorrhagic Fevers. eMedicine Journal, 2001.
       http://emedicine.medscape.com/article/830594. Revised 2017.

      Dayton MT, Larsen KR, Pigott DC, Nohavec RD, Moore JG: Circadian rhythm of
       bicarbonate (HCO3−) secretion in rat stomach. Surg Forum 41:142–144, 1990.

Consensus Statements and Meeting Reports

      Co-author, ACEP Epidemic Expert Panel. Influenza Emergency Department Best
       Practices, April 2019.

      Co-author, ACEP Epidemic Expert Panel. ACEP Fact Sheet: Zika Virus, August 2016.

      Co-author, ACEP Epidemic Expert Panel. ACEP Fact Sheet: MERS (Middle Eastern
       Respiratory Syndrome), June 2015.

      Co-author, ACEP Epidemic Expert Panel. ACEP Fact Sheet: Measles, January 2015.

      Co-author, CDC/ACEP Ebola Expert Panel/ENA, “Identify, Isolate, Inform: Emergency
       Department Evaluation and Management for Patients Under Investigation (PUIs) for
       Ebola Virus Disease (EVD),” 2014-2015.
       http://www.cdc.gov/vhf/ebola/healthcare-us/emergency-services/emergency-
       departments.html

       Co-author, ACEP Ebola Expert Panel Consensus Statement on Restrictive Movement
       including Quarantine of Health Care Workers, November 13, 2014.
       http://www.acep.org/ebola/

      Co-author, ACEP Ebola Expert Panel Talking Points for White House meeting (Dr.
       Michael Gerardi, ACEP President, Ronald Klain, Ebola Response Coordinator, Dr. Nicole
       Lurie, Assistant Secretary for Preparedness and Response, HHS), November 12, 2014.

Books and Book Chapters

      Pigott DC, Kazzi ZN, Nafziger SM. Biological Agents of Concern. In: Veenema TG editor.
       Disaster Nursing and Emergency Preparedness for Chemical, Biological and Radiological
       Terrorism. 4th ed., New York, NY: Springer Publishing, 2018, 515-532.
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       Connolly JA, Dean AJ, Hoffmann B, Jarman RD, eds., Emergency Point-of-Care
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      Gullett J, Beason HH, Pigott DC. Transcranial Doppler. In: Connolly JA, Dean AJ,
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      Gullett J, Pigott DC. Second and Third Trimester Pregnancy. In: Cosby KS, Kendall JL,
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       Disaster Nursing and Emergency Preparedness for Chemical, Biological and Radiological
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      Pigott DC, Liebelt EL. Arsenic and Arsine. In: Shannon MW, Borron SW, Burns M editor.
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      Pigott DC, Editor. The Emergency Medicine Practice Clinical Excellence Series, Volume
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      Pigott DC, Terndrup TE. Biological Agents of Concern. In: Veenema TG editor. Disaster
       Nursing and Emergency Preparedness for Chemical, Biological and Radiological
       Terrorism. New York, NY: Springer Publishing; 2003, 354-377.

Published Abstracts

      Thompson MA, Gibson CB, Gullett JP, Pigott DC. Acute ST segment elevation
       myocardial infarction and massive pericardial effusion due to infectious endocarditis: a
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       2016), Cape Town, South Africa, April 21-24, 2016

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       reduction of a displaced metacarpal fracture. ACEP Southeast Chapters Educational
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      Restrepo CG, Baker MD, Gullett JP, Pigott DC: Ability of pediatric emergency medicine
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       lumbar puncture in a simulated obese model, Southern Society for Pediatric Research,
       New Orleans, LA, Feb 2013.

      Thomas JJ, Pigott D, Douglas P: Retinal Detachment Diagnosed by ED Bedside
       Ultrasound. ACEP Southeast Chapters Educational Conference, Destin, FL, June 14-17,
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      Pigott DC, Bachmann LH, Peters HL, Lumpkins JM, Hook EW III: Does the presence of
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      McIntosh C, Beason HH, Gullett JP, Pigott DC: Ultrasound-guided hematoma block and
       reduction of a displaced metacarpal fracture. ACEP Southeast Chapters Educational
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       physicians to identify anatomic landmarks with the assistance of ultrasound prior to
       lumbar puncture in a simulated obese model, Southern Society for Pediatric Research,
       New Orleans, LA, Feb 2013.

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       Ultrasound. ACEP Southeast Chapters Educational Conference, Destin, FL, June 14-17,
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       ACEP Now, March 2020. https://www.acepnow.com/article/covid-19-for-the-emergency-
       provider-what-you-need-to-know/ (recognized by ACEP Now as one of the Top 10
       Articles of 2020)
      Member, Radiologic Disasters Working Group, sponsored by Department of Homeland
       Security, 2012 (Director, Steven M. Becker, PhD)
      Assisted with UAB development of web-based content for CME Module on Bioterrorism
       and Emergency Infections Education, 2001-2005.
      Faculty Mentor – UAB School of Medicine, 2000-2010

Editorial Review Services

      Annals of Emergency Medicine
      Academic Emergency Medicine
      Academic Emergency Medicine Education and Training
      The Lancet
      Disaster Medicine and Public Health Preparedness
      Foodborne Pathogens and Disease
      JACEP Open
      Oxford Medical Case Reports
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      Emergency Medicine Practice
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   Pigott Declaration:
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